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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL Case No. 2:12-md-02323-AB
LEAGUE PLAYERS' CONCUSSION
INJURY LITIGATION, MDL No. 2323

Civ. Action No.: 14-00029-AB
/

DECLARATION OF JAMES C. HAUSER, ESQUIRE

STATE OF FLORIDA

COUNTY OF ORANGE

I, JAMES C. HAUSER, ESQUIRE, hereby swear under oath that the
following statements are true and correct to the best of my personal knowledge:

1. I have given over 150 lectures on attorney’s fees issues, including
over 50 lectures to Florida judges.

2. I am currently the President of a boutique law firm called “Attorney’s
Fees in Florida” devoted entirely to attorney’s fee cases.

3. I am the author of a three-volume treatise entitled Attorney’s Fees in

Florida, which has been updated quarterly since 1987.

4. In that treatise, I devote an entire chapter exclusively to constitutional
issues involving attorney’s fees.

5. If this court sets an artificially-low cap on the amount an attorney can

charge a client, then such a decision would violate Article I, Section 10 of the

EXHIBIT

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United States Constitution and will have the unintended consequence of preventing
NFL players from receiving competent legal representation.

6. In Castellanos v. Next Door Company, 192 So. 3d 431 (Fla. 2016), the
Florida Supreme Court declared Florida Statute Section 440.34 to be
unconstitutional, as violating the Fourteenth Amendment to the United States
Constitution, because the statute limited the amount that a client could pay his/her
attorney, which resulted in many litigants not being able to obtain counsel.

7. In Searcy, Denny, Scarola, Barnhart & Shipley, P.A. v. State, 194 So.
3d 349 (Fla. 2015), the Florida Supreme Court declared unconstitutional a claims
bill from the Florida legislature that gave an individual over $10 million, but
limited attorney’s fees to $100,000, because it infringed not only upon the client’s
constitutional right to freedom of contract, but also upon the substantive and
procedural due process protections stated in the Fourteenth Amendment.

8. In Searcy, the Florida Supreme Court approved the right of the client
to pay a $2.5 million fee to the Searcy law firm under a Florida contingent fee
contract, or 25% of the amount recovered.

9. The former NFL players must be allowed to obtain competent legal
counsel in order to have the best possible chance of receiving appropriate

compensation.
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10. As recognized in TRG Columbus Development Venture, Ltd. v.
Sifontes, 163 So. 3d 548 (Fla. 3d DCA 2015), the key question is not whether NFL
players can obtain counsel, but whether that counsel is competent to handle this
type of case.

11. I graduated from the University of Pennsylvania’s Wharton School of
Finance in 1970. I earned my juris doctor.degree from the Boston University Law
School in 1973.

12. I served as a Circuit Court Judge for the 9" Judicial Circuit from 1990
to 2007 and have twice served as an appellate judge.

13. In 1989, I was awarded the Statewide Florida Jurist of the Year by the
Young Lawyers Division of the Florida Bar.

14. agree with the Recommendation of Professor William B. Rubenstein
that a 5% set aside for class counsel is unreasonable, because:

(a) it would permit additional attorney’s fees to class counsel who
already seek fees and costs of $112,000,000.00 which the NFL has agreed not to
contest; and .

(b) class counsel has not obtained forensic or clinical testing to assist
the individual players that are represented by Neurocognitive Football Lawyers,
PLLC to determine whether they have Qualifying Diagnoses before the Effective

Date of the Settlement.
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15. For the reasons expressed below, I opine that a 25% contingent fee
contract for an IRPA is both reasonable, and necessary where a former NFL player
receives a Qualifying Diagnosis before the Effective Date of the Settlement
Agreement, because otherwise such former NFL players would be unable to secure
competent individual counsel.

16. At the outset, it is clear that Professor Rubenstein wants the former
NFL players to receive the maximum compensation, and I concur.

17. However, his analysis is flawed, because this is not a normal class
action lawsuit.

18. A review of the nflconcussionsettlement.com website discloses that
there are 20,389 registered settlement class members.

19. The nflconcussionsettlement.com website also discloses that a mere
one percent (1%) of those claims have been paid.

20. Unlike some other class action settlements, the vast majority of the
players seeking compensation must prove their claims through medical and
neuropsychological vetting.

21. Based on the above facts, the clients represented by the
Neurocognitive Football Lawyers, PLLC are more similar to an injured individual

suing in tort, where each person has a unique set of facts, than a traditional
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common fund case, where members of the class are compensated without the need
of individual counsel.

22. Although class counsel have been able to obtain significant money
from which the former NFL players will be paid, most of the claimants seeking
compensation must still be approved through the claim procedure to recover.

23. Unfortunately, the 15% fee calculation used by Professor Rubenstein
fails to distinguish between IRPAs who have their clients participate in the
MAF/BAP process versus those IRPAs who have undertaken the effort and
expense of requesting the independent testing and evaluation of qualified medical
professionals to determine whether the client had a Qualifying Diagnosis before
the Effective Date of the Settlement Agreement.

24, In Paragraph 36 of his report, Professor Rubinstein appears to validate
a 25% contingent fee contract but concludes this rate was actually discounted
because the IRPAs anticipated that their 25% fee contracts would be reduced by
the pending request for a 5% set aside.

25. Without competent counsel, the result would ensue that many former
NFL players would have their claims severely limited or denied.

26. I have considered the following data and information:

(a) the report of Professor William R. Rubenstein;

(b) the Class Action Settlement Agreement;
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(c) the nflconcussionsettlement.com website;
(d) the Neurocognitive Football Lawyers, PLLC contingent fee

contracts at issue;

(e) the correspondence with the claims administrator, Brown Greer
PLC;

(f) the Scot Brantley file; and

(g) I have discussed the case with James Holliday, Esq. who is a
Partner with the law firm Neurocognitive Football Lawyers, PLLC.

27. The Long Form Notice notified the former NFL players on page 20:
“You do not have to hire your own attorney. However, if you want to be
represented by your own lawyer, you may hire one at your own expense.”

28. Neurocognitive Football Lawyers, PLLC signed Florida contingent
fee contracts to represent a large number of former ‘NEL players before the
Amended Settlement Agreement was approved and before the contingency on any
individual claim occurred.

29. Based on those Florida contingent fee contracts, attorney’s fees will
not be paid from the common fund, but from the players themselves.

30. Paragraph 30 of Professor Rubinstein’s report seems to suggest that

many players will receive small benefits from the MAF process where “61% of the
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players who will get paid are projected to receive $25,000 - $50,000 at some future
date.”

31. The fear that they will not be fairly tested during the MAF/BAP
procedure led many players to retain their own individual counsel to assist them in
proving for their entitlements to compensation under the settlement agreement.

32. In part, this explains why a large number of former NFL players
abandoned their prior counsel rather than submit to the MAF/BAP process.

33. These players engaged the IRPAs to aid them in finding independent
professionals who would be qualified to perform neurological, neuropsychological,
and radiological testing to assess whether they have Qualifying Diagnoses prior to
the Effective Date of the Agreement.

34. In this regard, the players represented by Neurocognitive Football
Lawyers, PLLC have been tested to determine whether they have qualifying
diagnoses.

35. Confirming the fear held by many of these players that they will not
be fairly treated, none of the retired NFL players represented by Neurocognitive
Football Lawyers, PLLC for which a Qualifying Diagnosis has been obtained has

so far been paid any money from the settlement.
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36. In addition, the record evidence shows that Class Counsel did nothing
to obtain a Qualifying Diagnosis for any of the individual clients represented by
Neurocognitive Football Lawyers, PLLC. °

37. Demonstrating the apparent lack of understanding for what some
IRPAs do for their clients, Professor Rubenstein seems to suggest in paragraph 29
of his report that “IRPAs should be able to process their clients’ through the
settlement process without enormous time or expense expenditures. This is
especially true given that many players are represented by IRPAs with large
inventories of clients.” Moreover his Footnote 78 notes the perfunctory nature of
completing settlement claim forms. That is not what IRPAs who have obtained a
Qualifying Diagnosis have done.

38. The Neurocognitive Football Lawyers, PLLC law firm assisted each
client to be examined by various qualified professionals to comply with the
Amended NFL Settlement Agreement including, but not limited to: neurologists,
psychiatrists, neuropsychologists, and radiologists. Neurocognitive Football
Players, PLLC also requested and reviewed prior medical and team records where
they could be made available.

39. Neurocognitive Football Players, PLLC designed a third-party

affidavit and they have also spoken with family members and friends of their
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clients to complete the third-party affidavits which have been requested by the
NFL claims administrator.

40. Neurocognitive Football Lawyers, PLLC has paid over $1,000,000.00
in expenses to prosecute these claims.

41. For the most part, the existence of numerous clients does not provide
opportunities either to achieve economies of scale, or to hold down expenses.

42. Each individual client has a unique medical history, playing history,
and personal circumstances.

43. Many of the clients test differently and show neurocognitive deficits
in different domains.

44, Unlike Class Counsel, Neurocognitive Football Lawyers, PLLC has
invested significant time and serious expense to prepare an individualized forensic
workup for each one of Neurocognitive Football Lawyers, PLLC’s clients.

45. Neurocognitive Football Lawyers, PLLC is not merely “shuffling
paper.”

46. After submitting 142 claims to date, none of Neurocognitive Football
Lawyers, PLLC’s clients have been paid.

47. Beyond compiling and filing each individual claims package,
Neurocognitive Football Lawyers, PLLC has answered deficiency notices,

responded to claim audits, contested liens, and filed appeals.
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48. Class Counsel has not assisted with any of these legal matters on these
individual claims of clients represented by Neurocognitive Football Lawyers,
PLLC.

49. Only two clients represented by Neurocognitive Football Lawyers,
PLLC have received notification of approval for receipt of a monetary award
sometime in the future.

50. Subsequently, both of those players received an “audit notice”
meaning 100% of the “approved” claims are now being retroactively audited and
neither client has been paid.

51. Based on the record evidence, every single claim is at risk of being
denied.

52. For example, the claim of a prominent brain-injured player, Scot
Brantley, was denied outright by an unknown member of the Appeals Advisory
Panel.

53. As is widely reported, Scot Brantley played football for the University
of Florida as a linebacker from 1976 until 1979,

54. He stopped playing college football after suffering a serious
concussion from a knee to the head that was reported in the national media.

55. Dr. Peter Indelicato ended Scot Brantley’s college football career two

games into his senior season and recommended that he never play football again.

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56. Mr. Brantley proceeded to play in the NFL however, and his medical
records report his suffering 20 concussions during NFL play.

57. Mr. Brantley’s resulting complaints of headaches, confusion, and
memory deficits are thoroughly documented.

58. A treating neurologist, Dr. Nieves, medically documented that “Mr.
Brantley must rely upon his wife for his activities of daily living and he is
functionally impaired.”

59. Mr. Brantley underwent both SPECT scanning and MRI scanning
which revealed objective medical evidence of his brain damage. Both a board-
certified neurologist and a neuropsychologist diagnosed him with Alzheimer’s.

60. On April 27, 2015, the NFL 88 Committee determined that Scot
Brantley was entitled to benefits under the 88 plan for dementia.

61. Yet in a stunning turn of events, Scot Brantley’s NFL concussion
claim was denied outright.

62. The AAP member who revised Mr. Brantley’s NFL concussion claim
did not reduce his claim to a 2.0 or 1.5 payout.

63. Rather, his claim was denied without any compensation paid.

64. Based on my knowledge, skill, training, education, and experience as
a former judge, author, and lecturer on attorney’s fees, I offer the following

opinions within a reasonable degree of legal certainty:

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a. The Neurocognitive Football Lawyers, PLLC provided
substantial benefit to their former NFL player-clients both before the claims
procedure opened, and during the claims procedure.;

b. The 25% contingent fee charged by Neurocognitive Football
Lawyers, PLLC under their Florida contingent fee contracts is inherently fair,
ethical, and reasonable because of the undertaken risks in delayed/denied claims,
the substantial costs advanced in prosecuting the claims, the time involved in
shepherding each of individual claim, and the high quality of the representation
provided to each of the individual claimants.;

c. These clients needed their own individually-retained counsel,
because Class Counsel did not do anything to assist them in obtaining Qualifying
Diagnoses.;

d. As recognized by Professor Rubenstein, the Rule 23 process for
scrutiny of class counsel’s proposed fee has no application to individualized
retainer agreements.;

e. The equities favor enforcement of the privately-negotiated
Florida contingent fee agreements providing for a 25% contingency fee.;

f. The 25% contingency fee represents a significant reduction in

the prevailing 331/3% to 40% fees authorized by the Florida Bar.;

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g The Federal Tort Claims Act permits legal counsel to charge a
contingent fee of 25%;

h. = The Florida Tort Claims Act permits legal counsel to charge a
contingent fee of 25%;

i. A contingent fee of 25% is presumptively reasonable in Social
Security disability cases even if it exceeds a hypothetical hourly rate.;

j. A contingent fee of 25% is lower than the median fee charged
by other firms as calculated by Professor Rubenstein in his report.;

k. While I agree that Professor Rubenstein’s opinion that the 5%
set aside should not be allowed, what Professor Rubenstein fails to explain is why
the IRPAs recognized the 5% set aside constituted an overreach.;

1. Professor Rubenstein’s assumption that Neurocognitive
Football Lawyers, PLLC expected a lower rate of return is not true.

m. Because Neurocognitive Football Lawyers, PLLC have (1)
undertaken serious risk, (2) advanced substantial costs prosecuting these individual
claims, (3) spent tremendous time obtaining the forensic, clinical and radiological
workup of each client, (4) lack economies of scale in preparing each individual
claim and (5) provided high quality representation to the clients, the law firm has
rebutted the recommended presumption suggested by Professor Rubenstein that

their IRPA fees should be limited to 15% ; and

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n. The 25% contingent fee requested by Neurocognitive Football
Lawyers, PLLC in the Florida contingent fee contracts with its former NFL-player

claimants is reasonable.

SWORN TO AND SUBSCRIBED by James C. Hauser, Esquire on

January 3, 2018.
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AMES C. HAUSER, ESQUIRE

AFFIANT

James C. Hauser, Esquire personally appeared before the undersigned
Notary Public on the date set forth above, produced a Florida Driver’s License as
identification, and signed this Affidavit under oath.

TARY PUBLIC, STATE OF FLORIDA

My Commission Expires: ovfralaoke (Seal)

anh Pug, Alexander T. Bowser
= os State of Florida
8 § My Commission Expires 04/22/2018

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